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            EXHIBIT P
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                                                                   Page 1
                                                              Volume:

                                                          Pages:    1-117

                                                        Exhibits:    None

                        UNITED STATES DISTRICT COURT

                        DISTRICT OF MASSACHUSETTS



    GIGI KAI ZI CHAN,                 )

                    Plaintiff,        )

    v.                                )    DOCKET NO.: 19-cv-11605

    WELLINGTON MANAGEMENT             )

    COMPANY, LLP, and CHARLES         )

    ARGYLE,                           )

                    Defendants        )

    _______________________________)




               VIDEOCONFERENCE DEPOSITION OF GREG MATTIKO



          THIS DEPOSITION TAKEN REMOTELY VIA ZOOM, ON WEDNESDAY,

    OCTOBER 21, 2020, COMMENCING AT 6:03 P.M.




    REPORTED BY:   Sharon G. Saalfield, LCR No. 147, MA CSR, RDR,

    CRR
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                                                                   Page 2
 1                                APPEARANCES

 2

 3   For the Plaintiff (via Zoom):

 4   HARTLEY MICHON ROBB, LLP

 5   By:   Patrick J. Hannon, Esq.

 6   155 Seaport Boulevard, 2nd Floor

 7   Boston, Massachusetts 02210

 8   (617) 447-2819

 9   phannon@hartleymichonrobb.com

10

11   For the Defendants (via Zoom):

12   JACKSON LEWIS, P.C.

13   By:   Stephen T. Paterniti, Esq.

14   Sarah Walsh, Esq.

15   75 Park Plaza, Fourth Floor

16   Boston, Massachusetts 02116

17   (617) 367-0025

18   stephen.paterniti@jacksonlewis.com

19   sarah.walsh@jacksonlewis.com

20

21   Also present:

22   Sara Martin, Wellington Management Company

23   Camille Palladino-Duffy, RPR, LCR (to administer the oath)

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                                                                   Page 3
 1                               STIPULATIONS

 2        It is agreed that the deposition shall be taken in the

 3   first instance in stenotype and when transcribed may be used

 4   for all purposes for which depositions are competent under

 5   federal law.

 6        Notice, filing, caption and all other formalities are

 7   waived.   All objections, except as to form, are reserved and

 8   may be taken in court at time of trial.

 9        It is further agreed that if the deposition is not signed

10   within thirty (30) days after submission to counsel, the

11   signature of the deponent is waived.

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                                                                   Page 4
 1                                  INDEX

 2   WITNESS                                                         PAGE

 3   Greg Mattiko

 4     By Mr. Hannon                                                  5

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11                                 EXHIBITS

12   NUMBER     DESCRIPTION                                          PAGE

13

14                      (No exhibits were offered.)

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23   Errata Sheet:                                                    115

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                                                                   Page 5
 1                              GREG MATTIKO,

 2            having been duly sworn by Ms. Palladino-Duffy,

 3                 was deposed and testified as follows:

 4                               EXAMINATION

 5        BY MR. HANNON:

 6   Q.   I'm not sure whether to say "good evening" or "good

 7        morning."     I'll just say "hello," Mr. Mattiko.

 8   A.   Hi, there.

 9   Q.   My name is Patrick Hannon, as you know already.          I

10        represent Gigi Chan in this lawsuit.        Where are you

11        physically located right now?

12   A.   I am in Wellington, Hong Kong, our office, IFC2, in

13        Central.

14   Q.   And is there anyone else in the room with you?

15   A.   Not at all.

16   Q.   Okay.    Do you have any papers or notes with you?

17   A.   I have a piece of paper here but it's blank.

18   Q.   Okay.    Have you ever had the pleasure of sitting for a

19        deposition before?

20   A.   I have not had the pleasure.       This is my first time.

21   Q.   Okay.    You're in for a treat.

22                Since everything that you and I say is being taken

23        down by the stenographer, it's important that we not

24        speak at the same time, so if you could try to do your
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                                                                   Page 82
 1        team dynamics with regards to things like this, and

 2        additional responsibilities, are discussed with the team

 3        leader.

 4   Q.   But you don't recall who --

 5   A.   No.

 6   Q.   -- got that feedback from you?

 7   A.   No.   You're asking about feedback that was given to me,

 8        or you're just saying whether I was asked about -- no, I

 9        don't -- either way, I mean, I don't remember who

10        specifically it was.

11   Q.   Okay.     Did you recall what your view of it was in terms

12        of if you were against it, or for it, or agnostic?

13   A.   I don't remember specifically, but I would have endorsed

14        it because if I would not have endorsed it, then it would

15        not been likely that it would have gone forward.

16   Q.   Would it be fair to say that, at least at the time that

17        you endorsed Ms. Chan launching the China Growth Fund,

18        that you were at least satisfied with the level of

19        contribution she has made to your team?

20   A.   Satisfied?     I would say satisfied, yeah.

21   Q.   Now, with respect to the China Growth Fund, do you know

22        where the seed money came from?

23   A.   To my recollection, it's Wellington seed capital.

24   Q.   Were you at all involved in the process of obtaining that
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                                                                   Page 84
 1   Q.   Do you have multiple vehicles by which you execute your

 2        strategy at Wellington?

 3   A.   I do, yes.

 4   Q.   When you first joined Wellington, did any of those

 5        vehicles already exist?

 6   A.   No.

 7   Q.   Without getting into specific details, can you tell me

 8        how your first vehicle was launched at Wellington,

 9        meaning either by seed capital, or by outside money, or

10        something else?

11   A.   So -- yeah, good question.     So, my experience was that it

12        was a internally managed fund for which the capital was a

13        large pension account.     So, it was an external client of

14        the fund, where the discretion of how that capital was

15        allocated was given to a specific manager within

16        Wellington.    And that manager frequently invested in

17        various Wellington strategies, so, that manager, at one

18        point, took the decision to invest in the emerging

19        markets opportunity strategy.      And, they so happened to

20        be the first -- the first individual or the first client,

21        so to speak, in the strategy.

22   Q.   How long into your tenure at Wellington did that occur?

23   A.   That was -- I don't remember specifically, but it would

24        have been within three to six months.
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                                                                   Page 113
 1        with Gigi that I would have with Phillip or any other

 2        investor at Wellington.

 3   Q.   Going to that meeting in Boston that you had with

 4        Mr. Argyle and Mr. Phillip concerning termination of

 5        Ms. Chan's employment.      Do you recall anything about what

 6        was said during the course of that meeting?

 7   A.   Not specifically, no.

 8   Q.   Anything generally?

 9   A.   Generally, it was about whether or not Ms. Chan was right

10        for Wellington at that particular point.

11   Q.   And do you recall anything about what, if any, opinion

12        Mr. Argyle expressed concerning that question?

13   A.   Not specifically, no.

14   Q.   Generally?

15   A.   Generally, I think it's safe to say that all three of us

16        were of the opinion that it would be better if Ms. Chan,

17        you know, applied her skills somewhere else.

18                   MR. HANNON:    This is a good spot to break for

19              the night.

20                   MR. PATERNITI:    Okay.   So, tomorrow, you know,

21              again, Patrick, I'm not trying to hold you to

22              anything, but just to give everybody some

23              opportunity to plan a little better, are you

24              thinking you need the full -- do you think you may
